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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     AMOS GBEINTOR, et al.,                            Case No. 21-cv-09470-TLT
                                                        Plaintiffs,
                                   8
                                                                                           ORDER STAYING DISCOVERY
                                                 v.                                        PROCEEDINGS
                                   9

                                  10     DEMANDBASE, INC., et al.,                         Re: ECF No. 70
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          In compliance with the Court’s order, the parties filed a joint case management statement

                                  14   advising that oral arguments are set for April 14, 2023 in Martinez v. ZoomInfo Technologies,

                                  15   Inc., Case No. 22-35305 (9th Cir. Apr. 15, 2022). ECF No. 70. In their statement, the parties seek

                                  16   clarification of the Court’s order staying the case, except for discovery proceedings. ECF No. 68.

                                  17   The Court initially ordered the case to be stayed, with the exception to discovery on December 5,

                                  18   2022. ECF No. 59. Subsequently, defendant was granted leave to file a motion for

                                  19   reconsideration as to the Court’s finding that their anti-SLAPP motion was untimely. The Court

                                  20   granted defendant’s motion finding that the anti-SLAPP motion was timely filed. ECF 68. In

                                  21   light of the stay, defendant’s anti-SLAPP motion remains pending.

                                  22          Upon the filing of an anti-SLAPP motion to strike, all discovery proceedings in the action

                                  23   are stayed until the ruling on the motion. Cal. Civ. Pro. § 425.16(g). Discovery is permitted when

                                  24   (1) the anti-SLAPP motion is based on a factual challenge and (2) plaintiff demonstrates good

                                  25   cause to take discovery that is limited to their opposition to the motion. See Herring Networks,

                                  26   Inc. v. Maddow, 8 F.4th 1148, 1155 (9th Cir. 2021).

                                  27          Here, defendant’s motion to dismiss or, in the alternative, motion to strike under

                                  28   California’s anti-SLAPP statute was based on a legal challenge. See ECF 31. While disputing the
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                                   1   merits of the motion, plaintiffs nonetheless agreed that discovery is automatically stayed. Opp’n.

                                   2   to Mtn. to Stay, p. 2, ECF No. 39.

                                   3          The Court, finding no authority to the contrary, ORDERS that the discovery proceedings

                                   4   are stayed. Upon the parties’ notification to the Court ten (10) days after the ruling on the

                                   5   Martinez appeal, the court will re-set defendant’s pending motion to dismiss or, in the alternative,

                                   6   to strike under California’s anti-SLAPP statute and will request supplemental briefing limited to

                                   7   the ruling in Martinez.

                                   8          IT IS SO ORDERED.

                                   9   Dated: April 6, 2023

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                                                                                                     TRINA L. THOMPSON
                                  12                                                                 United States District Judge
Northern District of California
 United States District Court




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